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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


Rodney Lail, et al.,              )
                                  )
                      Plaintiffs, )
                                  )
                                  )                        Civil Action No. 01-10-CV-00210-PLF
                                  )
vs.                               )
                                  )
United States, et al.,            )
                                  )
                      Defendants  )
                                  )
________________________________)

    DEFENDANTS1 REPLY TO PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS (ECF DOCKET ENTRY #54)

        Pursuant to LCvR 7(d) of the Local Rules of Civil Procedure for the United States

District Court for the District of Columbia, Defendants Palmetto Health Care, Columbia,

SC; Suzanne Tillman, Individually and in her official capacity as Director with Palmetto

Senior Care; Jennifer Brewton, Individually and in her official capacity with Palmetto

Senior Care; Kathy Beers, Individually and in her official capacity as Administrator with

Palmetto Senior, Care-White Rock; The State of South Carolina; The State of South

Carolina Law Enforcement Division; Captain David Caldwell, Individually and in his


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  Palmetto Health Care, Columbia, SC; Suzanne Tillman, Individually and in her official capacity as
Director with Palmetto Senior Care; Jennifer Brewton, Individually and in her official capacity with
Palmetto Senior Care; Kathy Beers, Individually and in her official capacity as Administrator with Palmetto
Senior, Care-White Rock; The State of South Carolina; The State of South Carolina Law Enforcement
Division; Captain David Caldwell, Individually and in his official capacity with SLED; Captain Larry Gainey,
Individually and in his official capacity with SLED; Mark Keel, Individually and in his official capacity with
SLED; Mike Prodan, Individually and in his official capacity with SLED; The South Carolina Department of
Social Services, Columbia, SC; Princess Hodges, Individually and in her official capacity with DSS; Susan
Stroman, Individually and in her official capacity with the SC Department of Social Services, SC; John
Weaver, Individually and in his official capacity as the Horry County Attorney, Horry County; Horry County
Police Chief, John Morgan, Individually and in his official capacity with Horry County; and Horry County,
Conway, SC
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official capacity with SLED; Captain Larry Gainey, Individually and in his official capacity

with SLED; Mark Keel, Individually and in his official capacity with SLED; Mike Prodan,

Individually and in his official capacity with SLED; The South Carolina Department of

Social Services, Columbia, SC; Princess Hodges, Individually and in her official capacity

with DSS; Susan Stroman, Individually and in her official capacity with the SC

Department of Social Services, SC; John Weaver, Individually and in his official capacity

as the Horry County Attorney, Horry County; Horry County Police Chief, John Morgan,

Individually and in his official capacity with Horry County; and Horry County, Conway,

SC [“these Defendants”] hereby file this Reply to Plaintiffs’ Memorandum In Opposition

to Motion to Dismiss. In their Memorandum Plaintiffs assert this Court has personal

jurisdiction over these Defendants based on conspiracy jurisdiction. However, Plaintiffs

fail to plead the necessary elements of such jurisdiction, which requires conspiracy be

pled with particularity. In addition, Plaintiffs fail to address Defendants’ argument

regarding failure to make a prima facie showing of personal jurisdiction under the

District of Columbia’s Long-Arm Statute and Defendants’ argument regarding improper

venue.

          For the reasons discussed below, Defendants request an order from the Court

dismissing the Second Amended Complaint on the basis that the Court has no personal

jurisdiction over them, and alternatively, that venue is improper in the District of

Columbia.




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                                           Legal Analysis

I. The United States District Court for the District of Columbia does not have
Personal jurisdiction over Defendants

          As Plaintiffs correctly point out, they have the burden of making a prima facie

showing that the Court has personal jurisdiction over a defendant. See Davis v. Grant

Park Nursing Home LP, 639 F. Supp. 2d 60 (D.D.C. 2009). To meet this burden,

Plaintiffs “must allege specific facts on which personal jurisdiction can be based; [they]

cannot rely on conclusory allegations.” Walton v. Bureau of Prisons, 533 F.Supp. 2d

107, 112 (D.D.C. 2008).

          Plaintiffs assert in their Supplemental Memorandum in Opposition that the Court

has personal jurisdiction over Defendants based on conspiracy jurisdiction. However,

“[a]s with other forms of personal jurisdiction, conspiracy jurisdiction requires a prima

facie showing of the pertinent jurisdictional facts.” Jin v. Ministry of State Sec., 335

F.Supp. 2d 72 (D.D.C. 2004). In addition, Plaintiffs must plead with particularity the

factual elements of conspiracy. See Id. Thus, “[t]o prevail on a theory of jurisdiction,

courts . . . traditionally require a prima facie showing of (1) conspiracy (2) in which the

defendant participated and (3) a co-conspirator’s overt act within the forum, subject to

the long-arm statute.” Id.

          A.         Conspiracy Jurisdiction

          Rather than respond to the traditional personal jurisdiction analysis under the

District of Columbia’s Long-Arm Statute as set forth in Defendants’ Memorandum in

Support of Motion to Dismiss, Plaintiffs argue that this Court has personal jurisdiction

over these Defendants based on conspiracy jurisdiction. However, as stated above, to

prevail under this theory of jurisdiction, Plaintiffs must plead with particularity: the



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existence of a conspiracy against the Plaintiff in which these Defendants participated,

and a co-conspirator’s overt act in the furtherance of the conspiracy occurring in the

District of Columbia that was subject to the Long-Arm Statute. Even if Plaintiffs have

sufficiently alleged particular facts against these Defendants indicating the acts of an

alleged conspiracy (which these Defendants do not concede), as discussed below

Plaintiffs have failed to allege any overt acts of an alleged conspiracy occurring in the

District of Columbia which are subject to the Long Arm Statute. Such failure is fatal to

Plaintiffs’ argument that the Court has personal jurisdiction based on conspiracy

jurisdiction.

          B.         Long Arm Statute

          “As with other forms of personal jurisdiction, conspiracy jurisdiction requires a

prima facie showing of the pertinent jurisdictional facts.” Jin, 335 F. Supp 2d. at 78. The

court’s jurisdiction is based on D.C.’s Long Arm Statute which states that the court has

personal jurisdiction of conspirators acting outside the forum when they are:

                     (1) transacting any business in the District of Columbia;
                     (2) Causing tortious injury in the District of Columbia by an act or omission
                     in the District of Columbia, and
                     (3) causing tortious injury in the District of Columbia if he regularly does or
                     solicits business, engages in any other persistent course of conduct, or
                     derives substantial revenue from goods used or consumed, or services
                     rendered in the District of Columbia.
                     ...

D.C. Code § 13-423(a)(1981).               However, the District of Columbia recognizes the

“government contacts” exception, which exists to exclude from jurisdiction consideration

a defendant’s contacts with federal instrumentalities. World Wide Minerals Ltd. v.

Republic of Kazakhstan, 116 F. Supp.2d 98 (200). See, Environmental Research

International, Inc. v. Lockwood Greene Engineers, Inc., 35 A.2d 808 (D.C. Ct. App.



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1976); Cellutech v. Centennial Cellular Corp., 871 F.Supp. 46 (D.D.C. 2000); Nat’l Coal

Association v. Clark, 603 F. Supp. 668 (D.D.C. 1984).

          “The exception has arisen from the District of Columbia’s unique character as the

home of the federal government.” World Wide, 116 F.Supp. at 105. “This exception

precludes the assertion of personal jurisdiction over a non-resident whose only contacts

with the District of Columbia are for the purposes of dealing with a federal agency or

Congress.” Cellutech,. 871 F. Supp. at 50.

          The exception is relevant here as Plaintiffs have noted in their Opposition Memo

that this Court has personal jurisdiction over the Defendants based on governmental

relationships. Plaintiffs Memo is replete with the contentions that:      “’State of South

Carolina Defendants’ transact business within the District of Columbia through the

United States treasury funding of various law enforcement programs, health care

programs, and social service funding;” “[t]he Defendant FBI personnel ultimately report

to FBI Headquarters in Washington, D.C.;” “substantial business related financial

transactions and regulatory guidelines have been issued and both have and are

occurring between the United States Treasury Department and other government

regulatory agencies in Washington DC and the ‘Defendants;’” “Medicare and Medicaid

payments and related administrative regulations from Medicare and Medicaid both

headquartered in Washington, DC impact the business, financial and administrative

practices of the SC DSS Defendants and ‘[t]he Palmetto Health Defendants.’” Based on

these connections, Plaintiffs state that “[t]here should be no question as to the business

and financial ties between ‘The Defendants’ and forum of Washington, DC.” (See

Plaintiffs’ Memo in Opp. to Defendants’ Mot. to Dismiss).




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          Plaintiffs’ allegations of contacts fail when tested against the government

contacts exception. Plaintiffs only allege contacts with federal agencies to bring the

Defendants into the District of Columbia’s Long Arm Statute. However, according to

District of Columbia jurisprudence, contacts with federal agencies cannot be used as a

source of personal jurisdiction. Therefore, Plaintiffs fail the third prong of the Manook

test2 and this Court cannot have personal jurisdiction over the Defendants based on

conspiracy jurisdiction.

          c. Traditional Personal Jurisdiction

          Despite Plaintiffs’ lack of response to the traditional personal jurisdiction analysis

as set forth in Defendants’ Memorandum in Support of Motion to Dismiss, Defendants

continue to maintain that there are no sufficient allegations to maintain conspiracy

jurisdiction and that this court does not have personal jurisdiction under traditional

analysis.

          As noted supra, Plaintiffs have the burden of making a prima facie showing that

the Court has personal jurisdiction over a defendant. See Davis v. Grant Park Nursing

Home LP, 639 F.Supp.2d 60 (D.D.C. 2009). To meet this burden, Plaintiffs “must allege

specific facts on which personal jurisdiction can be based; [they] cannot rely on

conclusory allegations.” Walton v. Bureau of Prisons, 533 F.Supp.2d 107, 112

(D.D.C.2008). Plaintiffs have failed to allege the necessary facts.

          “To establish personal jurisdiction over a non-resident, a court must engage in a

two-part inquiry: A court must first examine whether jurisdiction is applicable under the

2
 The Manook Test was established in Estate of Manook v. Research Triangle Inst. Int’l, where the Court
held that “[f]or conspiracy jurisdiction within the District of Columbia, the plaintiff must alleged: (1) the
existence of a civil conspiracy; (2) the defendant’s participation in the conspiracy; and (3) an overt act by
a coconspirator within the forum, subject to the long-arm statute, and in furtherance of the conspiracy…”
Estate of Manook v. Research Triangle Inst. Int’l, 693 F. Supp. 2d 4, 15 (D.D.C. 2010).


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state’s long arm statute and then determine whether a finding of jurisdiction satisfies the

constitutional requirements of due process.”               GTE New Media Services, Inc. v.

Bellsouth Corp., 199 F.3d 1343, 1347, 339 U.S. App. C.C. 332, 336 (Ct. App. 2000).

          The District of Columbia’s long arm statute is D.C. Code Ann. § 13-423(a)(1981),

which provides in pertinent part:

                     (a) A District of Columbia court may exercise personal jurisdiction over a
                     person, who acts directly or by an agent, as to a claim for relief arising
                     from the person’s - -

                     (1) transacting any business in the District of Columbia; …

                     (3) causing tortious injury in the District of Columbia by an act or omission
                     in the District of Columbia;

                     (4) causing tortious injury in the District of Columbia by an act or omission
                     outside the District of Columbia if he regularly does or solicits business,
                     engages in any other persistent course of conduct, or derives substantial
                     revenue from goods used or consumed, or services rendered, in the
                     District of Columbia.

D.C. Code Ann. § 13-423(a)(1981).

          To show that the exercise of personal jurisdiction is within the permissible

bounds of the Due Process Clause “…a plaintiff must show ‘minimum contacts’ between

the defendant and the forum establishing that ‘the maintenance of the suit does not

offend traditional notions of fair play and substantial justice.’”             GTE New Media

Services, Inc. v. Bellsouth Corp., supra, citing International Shoe Co. v. Washington,

326 U.S. 310, 316 (1945). “Under the ‘minimum contacts’ standard, courts must ensure

that ‘the defendant’s conduct and connection with the forum State are such that he

should reasonably anticipate being haled into court there.’”               Id. citing World-Wide

Volkswagen Corp. v. Woodson, 444 U.S. 286 (1980).




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          The District of Columbia’s long arm statute does not reach these Defendants.

There are no allegations in the Second Amended Complaint that these Defendants

transacted any business in the District of Columbia or that they caused any tortious

injury in the District of Columbia by an act or omission in or outside of the District of

Columbia. Even if the Court determines that these Defendants did cause tortious injury

in the District of Columbia by an act or omission outside the District of Columbia, the

long arm statute still does not reach these Defendants because they do not regularly

conduct or solicit business in the District of Columbia, they do not engage in any other

persistent course of conduct in the District of Columbia, and they do not derive

substantial revenue from goods used or consumed, or services rendered, in the District

of Columbia. These Defendants do not have the “minimum contacts” with the District of

Columbia that would cause them to be subject to the personal jurisdiction of this Court.

Furthermore, these Defendants do not have any connection with the District of

Columbia such that they should reasonably anticipate being haled into court in the

District of Columbia.

          Accordingly, the United States District Court for the District of Columbia does not

have personal jurisdiction of these Defendants and this lawsuit should be dismissed

pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure for lack of personal

jurisdiction.

II. Venue is not proper in the United States District Court for the
    District of Columbia

          These Defendants have moved to dismiss this lawsuit pursuant to Rule 12(b)(3)

of the Federal Rules of Civil Procedure because venue is not proper in this Court.




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Plaintiffs have the burden of establishing that venue is proper. See Vaukus v. U.S., 691

F.Supp.2d 119 (D.D.C., 2010).

          In the Memorandum of Law in Support of these Defendants’ Motion to Dismiss,

Defendants argued that The Second Amended Complaint does not allege jurisdiction

founded solely on diversity of citizenship. It alleges federal question jurisdiction based

on the Defendants’ violations of the Federal Tort Claims Act, a Bivens action, violations

of the Plaintiffs’ civil rights under 42 U.S.C. §§ 1981, 1983 and 1985 and violations of

the Racketeer Influenced and Corrupt Organizations Act, as well as South Carolina

state law claims. Consequently, the applicable federal venue provisions can be found

at 28 U.S.C. § 1391(b) of the United States Code which states:

                     A civil action wherein jurisdiction is not founded solely on diversity of
                     citizenship may, except as otherwise provided by law, be brought only in
                     (1) a judicial district where any defendant resides, if all defendants reside
                     in the same state, (2) a judicial district in which a substantial part of the
                     events or omission giving rise to the claim occurred, or a substantial part
                     of property that is the subject of the action is situated, or (3) a judicial
                     district in which any defendant may be found, if there is no district in which
                     the action may otherwise be brought.

28 U.S.C. § 1391(b). All of the Defendants in this lawsuit do not reside in the same

state, so § 1391(b)(1) is inapplicable. There is a district in which this lawsuit may be

brought, so § 1391(b)(3) is inapplicable. The overwhelming majority of the alleged acts

in the Second Amended Complaint are alleged to have occurred in South Carolina (See

Second Amended Complaint, generally; ECF Docket Entry #12), so § 1391(b)(2) is the

applicable subsection.

           South Carolina is not only the appropriate district under the venue statutes, but it

is also the most appropriate and judicially efficient forum for the handling of this case.

Almost all of the evidence and witnesses for this lawsuit will be located in South



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Carolina. Six (6) of the Plaintiffs live in South Carolina (Id. at ¶¶ 3-8) and at least twenty

six (26) of the Defendants are South Carolina state agencies, South Carolina

companies or individuals living in South Carolina. (Id. at ¶¶ 11-51).

          In their Opposition to these Defendants’ Motion To Dismiss, the Plaintiffs have

not presented any opposition or authority which refutes the Defendants’ position

regarding proper venue. This is not surprising because the law is as stated in the

Defendants’ earlier Memorandum.         Clearly, the United States District Court for the

District of South Carolina is the proper venue for this lawsuit and this lawsuit should be

dismissed pursuant to Rule 12(b)(3) of the Federal Rules of Civil Procedure for

improper venue.

III. Additional Case Law Considerations

          Plaintiffs are incorrect in their contentions that South Carolina Court decisions

support that personal jurisdiction is proper in the United States District Court for the

District of Columbia. Brown v. Investment Management and Research Inc., cited in

Plaintiffs’ Opposition Memo, does in fact state that a Plaintiff must only make a prima

facie showing that the court has jurisdiction for a civil action to continue and that the

allegations in a Complaint are normally sufficient to warrant the exercise of jurisdiction.

Brown V. Investment Management and Research Inc., 475 S.E.2d 754 (1996).

However, Plaintiffs have failed to make a prima facie showing that jurisdiction is proper

and the allegations in the Complaint are not sufficient to warrant the exercise of

jurisdiction. In Brown, the plaintiffs properly pled facts that put them within South

Carolina’s Long Arm Statute. Here, Plaintiffs have failed to plead facts that put them

within the United States District Court for the District of Columbia’s personal jurisdiction.




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          Further, Plaintiffs cite Hammond v. Butler, Means, Evans, & Brown for the

proposition that whenever a Plaintiff alleges a civil conspiracy perpetrated by both

residents of a state and nonresidents, there is personal jurisdiction over the

nonresidents as long as some of the actions of conspiracy occurred within the state.

Hammond. v. Butler, Means, Evans, & Brown, 388 S.E.2d 796, cert. denied, 498 U.S.

952 (1990).           This contention is based on South Carolina law, which gives further

credence to the fact that South Carolina has proper jurisdiction over these claims and

not the District of Columbia.

          Plaintiffs also assert that this Court should have jurisdiction based on a theory of

Supplemental Jurisdiction. 28 U.S.C. § 1367 gives Federal District Courts jurisdiction

over state law claims, which form part of the same case or controversy. Here, Plaintiffs

have alleged violations of South Carolina state law, thereby making the federal courts of

South Carolina the proper courts to have supplemental jurisdiction over the claims.

                                         CONCLUSION

          For the reasons stated in the Memorandum of Law in Support of these

Defendants’ Motion to Dismiss and for those additional reasons stated in this Reply,

Defendants Palmetto Health Care, Columbia, SC; Suzanne Tillman, Individually and in

her official capacity as Director with Palmetto Senior Care; Jennifer Brewton,

Individually and in her official capacity with Palmetto Senior Care; Kathy Beers,

Individually and in her official capacity as Administrator with Palmetto Senior, Care-

White Rock; The State of South Carolina; The State of South Carolina Law Enforcement

Division; Captain David Caldwell, Individually and in his official capacity with SLED;

Captain Larry Gainey, Individually and in his official capacity with SLED; Mark Keel,




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Individually and in his official capacity with SLED; Mike Prodan, Individually and in his

official capacity with SLED; The South Carolina Department of Social Services,

Columbia, SC; Princess Hodges, Individually and in her official capacity with DSS;

Susan Stroman, Individually and in her official capacity with the SC Department of

Social Services, SC; John Weaver, Individually and in his official capacity as the Horry

County Attorney, Horry County; Horry County Police Chief, John Morgan, Individually

and in his official capacity with Horry County; and Horry County, Conway, SC

respectfully request that the Court grant their Motion to Dismiss.

                                                 Respectfully submitted,


s/Monte Fried                                    s/William C. McDow
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Attorneys for Defendants Palmetto Health Care, Columbia, SC; Suzanne Tillman, Individually
and in her official capacity as Director with Palmetto Senior Care; Jennifer Brewton, Individually
and in her official capacity with Palmetto Senior Care; Kathy Beers, Individually and in her
official capacity as Administrator with Palmetto Senior, Care-White Rock; The State of South
Carolina; The State of South Carolina Law Enforcement Division; Captain David Caldwell,
Individually and in his official capacity with SLED; Captain Larry Gainey, Individually and in his
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Services, SC; John Weaver, Individually and in his official capacity as the Horry County
Attorney, Horry County; Horry County Police Chief, John Morgan, Individually and in his official
capacity with Horry County; and Horry County, Conway, SC


                                CERTIFICATE OF SERVICE

        This is to certify that on this 28th day of September, 2010, a copy of the above
DEFENDANTS’ REPLY TO PLAINTIFFS’ MEMORANDUM IN OPPOSITION T0
DEFENDANTS’ MOTION TO DISMISS (ECF DOCKET ENTRY #54) was electronically
transmitted to the Clerk of Court using the ECF System for filing, and copies of the Brief
were mailed, with sufficient postage affixed thereto and return address clearly marked,
to the following:

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                                                    Florence, SC 29503
                                                    (Defendant, E. Glenn Elliott, pro se,
                                                    individually and in his capacity with the Aiken
                                                    Bridges law firm)



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Jay Saleeby                                       Robert E. Lee
Aiken Bridges Elliott Tyler & Saleeby, PA         Aiken Bridges Elliott Tyler & Saleeby, PA
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Florence, SC 29503                                Florence, SC 29503
(Defendant, Jay Saleeby, pro se, individually     (Defendant, Robert E. Lee, pro se, individually
and in his capacity with the Aiken Bridges law    and in his capacity with the Aiken Bridges law
firm)                                             firm)

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                                             /s/
                                           Monte Fried




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